Case 2:02-cr-20261-SHl\/| Document 69 Fi|

ed 06/09/05 Page 1 of 6 PagelD 83

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wEsTERN olsTRlcT oF TENNEssEE '“ “'
MEMPl-ns olvlstoN 05 JUH _9 m 6: mg

UN|TED STATES OF A|V|ER|CA

noelzs~"n n. iii tactic
th-;rii<, us hist c‘t.

-v- 02-20261_01_Ma W.D. C}F `t'l“\t, i<.tlElvtPltiS

TlNO HARR|S

lVlark S. lVchanie|. Retained
Defense Attorney

243 Exchange Avenue
lVlemphis,Tennessee 38103

 

JUDGN|ENT IN A CR

lIVIlNAL CASE

(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 , 2 and 3 of the indictment on June 03, 2003. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Tit|e & Section NE|fU_reOTM Offense M(§)
Conc|uded
21 U.S.C. § 841(a)(1) Unlawful possession of approximately 06/28/2002 1
40 kilograms of cocaine with the intent
to distribute
21 U.S.C. § 841(3)(1) Unlawfu| possession of approximately 08/03/2001 2
116 grams of cocaine base with the §
intent to distribute
18 U.S.C. §922(g) Felon in possession of a firearm 06/28/2002 3

The defendant is sentenced as provided in the following pages of this judgmentl The sentence is
imposed pursuant to the Sentencing Fteform Actof 1984 and the l\/|andatory Victims Restitution Act

of 1996.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. l\|o. XXX-XX-XXXX
Defendant’s Date of Birth; 07/25/1975
Deft’s U_S. lVlarshal No.; 18432-076

Defendant’s Residence Address:
3944 Tonya l\/larie Cove
l\/|emphis, TN 38135

Date of imposition of Sentence:
June 07, 2005

MM/“"\

 

This doct_ment entered on the docket sheet ln compliance
with Flule 55 and/or 32tbl FRCrP on " '

SA|V|UEL H. MAYS, JR.
UN|TED STATES DlSTFllCT JUDGE

June 7 , 2005
LDQ

Case 2:02-cr-20261-SHl\/| Document 69 Filed 06/09/05 Page 2 of 6 PagelD 84

Case No.' 02-20261-01-Ma
Defendant Narne: Tino Harris Page 2 of 5

lNlPF{!SONNlENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of one hundred twenty (120) months on Count 3 and

one hundred fifty-one (151) months on Counts 1 and 2, each to run concurrent|y, for a
total term of imprisonment of one hundred fifty-one (151) months.

The Court recommends to the Bureau of Prisons:
That defendant participate in the 500 hour drug rehabilitation program;

That defendant be designated to serve his term of imprisonment at a facility closest
to l\/lemphis, Tennessee_

The defendant is remanded to the custody of the United States l\/larsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

Case 2:02-cr-20261-SHl\/l Document 69 Filed 06/09/05 Page 3 of 6 PagelD 85

Case No; 02-20261-01-|\/|a
Defendant Name: Tino Harris F’age 3 of 5

SUPEF'IV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of five (5) years on Counts 1 and 2 and three (3) years on Count 3, each to run
concurrent|y, for a total term of supervised release of five (5) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons_

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer_

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD CONDIT|ONS OF SUPERV|S|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment

6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,
distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

71 The defendant shali not frequent places where controlled substances are illegally sold, usedr
distributed or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

Case 2:02-cr-20261-SHl\/l Document 69 Filed 06/09/05 Page 4 of 6 PagelD 86

Case No'. 02-20261-01-|\/la
Defendant Name: Tino Harris Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

ft The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirementl

13_ if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| l\/lcnetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall seek and maintain lawful full time employment

3. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

Case 2:02-cr-20261-SHl\/l Document 69 Filed 06/09/05 Page 5 of 6 PagelD 87

Case No: 02-20261-01-|\/|a
Defendant Name: Tino Harris Page 5 of 5

CR|NI|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tota| Restitution
$300.00

The Specia| Assessment shall be due immediately

FlNE
l\lo fine imposed

REST|TUT|ON
l\lo Ftestitution was ordered

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 69 in
case 2:02-CR-20261 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

Mark S. McDaniel

LAW OFFICE OF MARK S. MCDANIEL
243 EXchange Avenue

i\/lemphis7 TN 38103

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

